                Case 2:21-cv-00204-BJR Document 65 Filed 06/10/22 Page 1 of 4




                                                               THE HONORABLE BARBARA J. ROTHSTEIN
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                                   UNITED STATES DISTRICT COURT
 6                                WESTERN DISTRICT OF WASHINGTON
 7 JENNIFER MILLER, EMAD AL‐KAHLOUT,

 8 HAMADY BOCOUM, CHRISTOPHER CAIN,                      Case No. 2:21‐cv‐00204‐BJR
   GARY GLEESE, JOSE GRINAN, KIMBERLY HALO,
 9 CLARENCE HARDEN, KELLY KIMMEY, JUMA                  PLAINTIFFS’ MOTION TO LIFT STAY
   LAWSON, STEVEN MORIHARA, SHARON
10 PASCHAL, and PHILIP SULLIVAN, on behalf of

11 themselves and all others similarly situated,

12                        Plaintiffs,
13         v.
14
   AMAZON.COM, INC., and AMAZON
15 LOGISTICS, INC.,

16                        Defendants.

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19                                      I.     INTRODUCTION

20         This Court denied Amazon’s motion to compel arbitration, holding that Amazon Flex

21 workers are exempt from the Federal Arbitration Act and relying on Rittmann v Amazon.com,

22 Inc., 971 F.3d 904 (9th Cir. 2020). Defendants have sought interlocutory appeal at the Ninth

23 Circuit (the same court that decided Rittmann). On March 29, 2022, this Court granted

24 Amazon’s motion to stay this action pending resolution of the Ninth Circuit appeal because of a

25 case pending at the Supreme Court, Southwest Airlines Co. v. Saxon, 142 S. Ct. 638 (2021) (cert.

26 granted). Earlier this week, the Supreme Court decided Saxon, holding that a ramp supervisor

27 for Southwest Airlines who “frequently loads and unloads cargo on and off airplanes that travel
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              Case 2:21-cv-00204-BJR Document 65 Filed 06/10/22 Page 2 of 4




 1 in interstate commerce . . . belongs to a ‘class of workers engaged in foreign or interstate

 2 commerce” and was therefore exempt from the Federal Arbitration Act. __ S. Ct. __, 2022 WL

 3 1914099, at *8 (Jun. 6, 2022).

 4          Because Saxon has been decided in favor of the workers and does not upset the Ninth
 5 Circuit’s decision in Rittmann, Plaintiffs respectfully request that the stay in this case be lifted.1

 6                                           II.    ARGUMENT
 7          The stay should be lifted because: (1) Amazon’s argument in favor of the stay and this
 8 Court’s decision was based on the possibility that the Supreme Court’s decision in Saxon would

 9 call into question the Ninth Circuit’s decision in Rittmann; and (2) the Saxon decision has now

10 issued, and it bolsters the Rittmann decision and this Court’s decision denying Amazon’s motion

11 to compel arbitration.

12          First, Amazon relied heavily on Saxon in its motion for a stay, arguing: “With the
13 granting of Southwest Airlines’s cert petition, there is a very real possibility that—while the

14 appeal in this action is pending—the Supreme Court will vindicate Amazon’s . . . interpretation

15 of the exemption or otherwise cast doubt on the Rittmann decision on which this Court heavily

16 relied.” Defs.’ Mot. for a Stay at 2 (Doc. 50). Explaining further, Amazon explained that, in

17 Saxon, “[t]he Supreme Court is thus likely to decide whether the Ninth Circuit in Rittmann, like

18 the Seventh Circuit in Saxon, was correct to rule that the FAA’s exemption encompasses classes

19 of workers who do not cross state lines.” Id. at 6.

20          This Court granted the stay, holding that the possibility of an opinion in Saxon that cast
21 doubt on Rittmann “justifies a stay in this case.” Ct. Ord. on Mot. to Stay at 3 (Doc. 64). For this

22 reason, the Court held that Amazon satisfied the first (and most important) element in favor of

23 a stay, likelihood of success. “[I]f the Supreme Court adopts Southwest’s interpretation of the

24 exemption, this Court’s reliance on Rittmann may no longer support the denial of Defendants’

25 motion to compel.” Id.

26
    Under the current schedule, Amazon’s opening brief to the Ninth Circuit is due on July 27,
     1

27 2022, and the appeal will not be fully briefed until September 2022.
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               Case 2:21-cv-00204-BJR Document 65 Filed 06/10/22 Page 3 of 4




 1          The Supreme Court has now issued its decision in Saxon. The Supreme Court did not
 2 “adopt[] Southwest’s interpretation of the exemption.” Id. Nor did it “cast doubt on the

 3 Rittmann decision.” Defs.’ Mot. for a Stay at 2 (Doc. 50). Instead, the Court held that a ramp

 4 supervisor who loaded and unloaded cargo on airplanes traveling across borders belonged to a

 5 “[c]lass of workers engaged in foreign or interstate commerce,” even though the workers

 6 themselves did not cross borders. 2022 WL 1914099, at *8. The Court held: “cargo loaders

 7 plainly do perform ‘activities within the flow of interstate commerce’ when they handle goods

 8 traveling in interstate and foreign commerce, either to load them for air travel or to unload

 9 them when they arrive.” Id.

10          Notably, moreover, the Supreme Court cited Rittmann with approval in the Saxon
11 decision. In noting that “the answer will not always be so plain when the class of workers

12 carries out duties further removed from the channels of interstate commerce or the actual

13 crossing of borders,” the Court compared Rittmann with Wallace v. GrubHub Holdings, Inc., 970

14 F.3d 798, 803 (7th Cir. 2020). 2022 WL 1914099, at *5 n.2. In Rittmann, the Court noted, the

15 Ninth Circuit held that “a class of ‘last leg’ delivery drivers falls within § 1’s exemption,”

16 whereas the Seventh Circuit held in Wallace that “food delivery drivers do not” fall within § 1

17 exemption. Id. This reference to Rittmann further confirms that Saxon affirmed and did not cast

18 doubt upon the Ninth Circuit’s decision in Rittmann and, by extension, this Court’s decision on

19 Amazon’s motion to compel arbitration.

20                                          III.    CONCLUSION
21          Now that the Supreme Court has decided the Saxon case, and the Ninth Circuit’s
22 decision in Rittmann remains undisturbed (and, indeed, bolstered), this Court should lift the

23 stay and allow litigation to proceed in this matter while Amazon’s interlocutory appeal is

24 pending.

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                                 IV.    CERTIFICATION OF CONFERRAL
 1
            I certify that, pursuant to the Court’s standing order, my co‐counsel Hillary Schwab
 2
     conferred with Michael Kenneally, counsel for Amazon on June 10, 2022. Mr. Kenneally told
 3
     Ms. Schwab that Amazon opposes this motion.
 4
            RESPECTFULLY SUBMITTED AND DATED this 10th day of June, 2022.
 5

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